                       Certificate of Admission
                        To the Bar of Illinois
     I, Carolyn Taft Grosboll, Clerk of the Supreme Court of Illinois, do hereby certify that


                                     David Albert Rammelt


    has been duly licensed and admitted to practice as an Attorney and Counselor at
    Law within this State; has duly taken the required oath to support the
    CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
    also the oath of office prescribed by law, that said name was entered upon the Roll
    of Attorneys and Counselors in my office on 11/08/1990 and is in good standing, so
    far as the records of this office disclose.




                                             IN WITNESS WHEREOF, I have hereunto
                                                   subscribed my name and affixed the
                                                   seal of said Court, this 18th day of
                                                   March, 2019.




                                                                                    Clerk,
                                                     Supreme Court of the State of Illinois




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